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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                            CASE NO. 8:20-cv-01830-VMC-TGW

WANDA KOEHN,

       Plaintiff,

vs.

AGAPE DIAMONDS, LLC,
a Florida limited liability company,

      Defendant.
______________________________/

                     NOTICE OF PENDENCY OF OTHER ACTIONS

       In accordance with Local Rule 1.04(d), I certify that the instant action:

________       IS     related to pending or closed civil or criminal case(s) previously filed in
                      this Court, or any other Federal or State court, or administrative agency as
                      indicated below:

                      ____________________________________________________________

                      ____________________________________________________________

                      ____________________________________________________________

___X_____ IS NOT related to any pending or closed civil or criminal case filed with this
                 Court, or any other Federal or State court, or administrative agency.

       I further certify that I will serve a copy of this Notice of Pendency of Other Actions upon
each party no later than fourteen days after appearance of the party.

       Dated: August 24, 2020.

        /s/ Roderick V. Hannah
RODERICK V. HANNAH, P.A.
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